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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   Broidy Capital Management, ) Case No. CV 18-2421-JFW(Ex)
     LLC, et al.,                )
12                               ) STANDING ORDER
                   Plaintiff,    )
13                               )
          v.                     )
14                               )
     State of Qatar, et al.,     )
15                               )
                   Defendants.   )
16   ___________________________
17       READ THIS ORDER CAREFULLY. IT CONTROLS THE CASE AND
18   DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
19       This action has been assigned to the calendar of Judge
20   John F. Walter.     Both the Court and counsel1 bear
21   responsibility for the progress of litigation in Federal
22   Court.   To secure the just, speedy, and inexpensive
23   determination of every action, all counsel are ordered to
24   familiarize themselves with the Federal Rules of Civil
25   Procedure, the Local Rules of the Central District of
26
27       1
         Any reference in the Court’s Standing Order (or any
28 other  court order) to “counsel” or “attorney” applies to
   parties appearing pro se unless the context requires
   otherwise.
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 1   California, the General Orders of the Central District and
 2   the Judge’s Procedures and Schedules found on the website
 3   for the United States District Court for the Central District
 4   of California (www.cacd.uscourts.gov).
 5   1.   Service of the Complaint:
 6        The plaintiff shall promptly serve the Complaint in
 7   accordance with Fed.R.Civ.P. 4 and shall file the proof(s) of
 8   service pursuant to the Local Rules.           The plaintiff is hereby
 9   notified that failure to serve the Complaint as required by
10   Fed.R.Civ.P. 4(m) will result in the dismissal of the
11   Complaint against the unserved defendant(s).
12   2.   Presence of Lead Counsel:
13        Lead trial counsel shall attend all proceedings before
14   this Court, including all scheduling, status, and settlement
15   conferences.    Only ONE attorney for a party may be designated
16   as lead trial counsel unless otherwise permitted by the
17   Court.
18   3.   Electronic Filing and Courtesy Copies:
19        (a) Within ten days of a party’s initial appearance, lead
20   trial counsel shall file a declaration entitled, “Declaration
21   of Lead Trial Counsel re: Compliance with Local Rules
22   Governing Electronic Filing” which shall notify the Court
23   that counsel has registered as an “ECF User.”             The
24   declaration shall include counsel’s “E-Mail Address of
25   Record” and shall state whether counsel has consented or
26   elected not to consent to service and receipt of filed
27   documents by electronic means.
28   / / /

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 1       If counsel has not consented to the service and receipt
 2   of filed documents by electronic means, counsel shall
 3   immediately file and serve via U.S. Postal Service on all
 4   parties who have appeared in the action a Notice advising all
 5   parties that counsel has elected not to consent to electronic
 6   service of documents in this action.
 7       (b) All documents that are required to be filed in an
 8   electronic format pursuant to the Local Rules shall be filed
 9   electronically no later than 4:00 p.m. on the date due unless
10   otherwise ordered by the Court.          Any documents filed
11   electronically after 4:00 p.m. on the date due will be
12   considered late and may be stricken by the Court.              Any
13   documents which counsel attempt to file electronically which
14   are improperly filed will not be accepted by the Court.
15       (c) Counsel are ORDERED to deliver 2 copies of all
16   documents filed electronically in this action to Chambers.
17   For each document filed electronically, one copy shall be
18   marked “CHAMBERS COPY” and the other copy shall be marked
19   “COURTESY COPY.”     The “CHAMBERS COPY” and “COURTESY COPY” are
20   collectively referred to herein as “Courtesy Copies.” The
21   Courtesy Copies of each electronically filed document must
22   include on each page the running header created by the ECF
23   system.   In addition, on the first page of each Courtesy
24   Copy, in the space between lines 1 - 7 to the right of the
25   center, counsel shall include the date the document was
26   e-filed and the document number. The Courtesy Copies shall
27   not be blue-backed. All documents must be stapled only in the
28   top left-hand corner, the electronic proof of service must be

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 1   attached as the last page of each document, and the exhibits
 2   attached to any document must be tabbed.            Counsel shall not
 3   staple the “COURTESY COPY” and “CHAMBERS COPY” together. The
 4   “COURTESY COPY”     and “CHAMBERS COPY” of all documents must be
 5   three-hole punched at the left margin with oversized 13/32"
 6   hole size, not the standard 9/32" hole size.             The Courtesy
 7   Copies shall be delivered to Chambers no later than 10:00
 8   a.m. on the next business day after the document was
 9   electronically filed.
10       (d) For any document that is not required to be filed
11   electronically, counsel are ORDERED to deliver 1 conformed
12   copy of the document, which shall be marked “COURTESY COPY,”
13   to Chambers at the time of filing.
14       (e)    If the Court has granted an application to file
15   documents under seal, the Court’s Courtesy Copies shall
16   include a complete version of the documents including any
17   sealed documents. Each document that has been filed under
18   seal shall include a notation identifying that the document
19   has been filed under seal, and shall be highlighted to show
20   the portion of the document that has been redacted. For
21   example, if the Court orders Ex. A to a Declaration filed
22   under seal, the Court’s Courtesy Copies of the Declaration
23   should include Ex. A as an attachment with a notation that it
24   has been filed under seal pursuant to the Court’s order and
25   any redactions shall be highlighted.
26       (f) In the unlikely event counsel finds it necessary to
27   file a Notice of Errata: (1) the Notice of Errata shall
28   specifically identify each error by page and line number and

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 1   set forth the correction; and (2) a corrected version of the
 2   document in its entirety shall be attached to the Notice of
 3   Errata.
 4        (g) When a proposed order accompanies an electronic
 5   filing, a WordPerfect or Word copy of the proposed order,
 6   along with a copy of the PDF electronically filed main
 7   document shall be e-mailed to JFW_Chambers@cacd.uscourts.gov.
 8   The subject line of the e-mail shall be in the following
 9   format: court’s divisional office, year, case type, case
10   number, document control number assigned to the main document
11   at the time of filing, judge’s initials and filer (party)
12   name.     Failure to comply with this requirement may result in
13   the denial or striking of the request or the Court may
14   withhold ruling on the request until the Court receives the
15   required documents.
16   4.   Discovery:
17        (a) All discovery matters have been referred to a United
18   States Magistrate Judge.        (The Magistrate Judge’s initials
19   follow the Judge’s initials next to the case number.)               All
20   discovery documents must include the words “DISCOVERY MATTER”
21   in the caption to ensure proper routing.            Counsel are
22   directed to contact the Magistrate Judge’s Courtroom Deputy
23   to schedule matters for hearing.
24        All decisions of the Magistrate Judge shall be final,
25   subject to modification by the District Court only where it
26   is shown that the Magistrate Judge’s Order is clearly
27   erroneous or contrary to law.         Any party may file and serve a
28   motion for review and reconsideration before this Court.                   The

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 1   moving party must file and serve the motion within fourteen
 2   calendar days of service of a written ruling or within
 3   fourteen calendar days of an oral ruling that the Magistrate
 4   Judge states will not be followed by a written ruling.                The
 5   motion must specify which portions of the ruling are clearly
 6   erroneous or contrary to law and support the contention with
 7   a memorandum of points and authorities.            Counsel shall
 8   deliver a courtesy copy of the moving papers and responses to
 9   the Magistrate Judge.
10        (b) Counsel shall begin to actively conduct discovery
11   before the Fed.R.Civ.P. 26(f) conference because at the
12   Scheduling Conference the Court will impose tight deadlines
13   to complete discovery.
14   5.   Motions:
15        (a) Time for Filing and Hearing Motions:
16        Motions shall be filed in accordance with the Local
17   Rules.   This Court hears motions on Mondays commencing at
18   1:30 p.m.    Once a party has noticed a motion for hearing on a
19   particular date, the hearing shall not be continued without
20   leave of Court.     No supplemental briefs shall be filed
21   without leave of Court.       Courtesy Copies shall be provided to
22   the Court in accordance with paragraph 3 of this Order.                No
23   motion shall be noticed for hearing for more than 35 calendar
24   days after service of the motion unless otherwise ordered by
25   the Court.    Documents not filed in compliance with the
26   Court’s requirements will be stricken and will not be
27   considered by the Court.
28   / / /

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 1       (b) Local Rule 7-3:
 2       Among other things, Local Rule 7-3 requires counsel to
 3   engage in a pre-filing conference “to discuss thoroughly,
 4   preferably in person, the substance of the contemplated
 5   motion and any potential resolution.”           Counsel should discuss
 6   the issues with sufficient detail so that if a motion is
 7   still necessary, the briefing may be directed to those
 8   substantive issues requiring resolution by the Court.
 9       Many motions to dismiss or to strike could be avoided if
10   the parties confer in good faith especially for perceived
11   defects in a Complaint, Answer, or Counterclaim which could
12   be corrected by amendment.        See, e.g., Eminence Capital, LLC
13   v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)(where a
14   motion to dismiss is granted, a district court should provide
15   leave to amend unless it is clear that the Complaint could
16   not be saved by any amendment).          The Ninth Circuit requires
17   that this policy favoring amendment be applied with “extreme
18   liberality.”    Morongo Band of Mission Indians v. Rose, 893
19   F.2d 1074, 1079 (9th Cir. 1990).
20       These principles require counsel for the plaintiff to
21   carefully evaluate the defendant’s contentions as to the
22   deficiencies in the Complaint, and in most instances, the
23   moving party should agree to any amendment that would cure a
24   curable defect.     Counsel should, at the very least, resolve
25   minor procedural or other nonsubstantive matters during the
26   conference.
27       All 7-3 conferences shall be conducted by lead counsel
28   and shall take place via a communication method that, at a

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 1   minimum, allows all parties to be in realtime communication
 2   (letters and e-mail, for example, do not constitute a proper
 3   7-3 conference).     Notwithstanding the exception for
 4   preliminary injunction motions in Local Rule 7-3, counsel
 5   contemplating filing a preliminary injunction motion shall
 6   comply with Local Rule 7-3 and meet and confer at least five
 7   days prior to the filing of such a motion. The pro se status
 8   of one or more parties does not excuse compliance with Local
 9   Rule 7-3.
10       Within three days of the conference, counsel shall file a
11   joint statement indicating the date, duration, and
12   communication method of the conference and the participants
13   in the conference.      In addition, the joint statement shall
14   detail the issues discussed and resolved during the
15   conference and the issues remaining.           Failure to strictly
16   comply with the Court's requirements or Local Rule 7-3 will
17   result in the striking and/or the denial of the motion.
18       (c) Length and Format of Motion Papers:
19       Memoranda of Points and Authorities in support of or in
20   opposition to motions shall not exceed 25 pages.              Replies
21   shall not exceed 12 pages.        Only in rare instances and for
22   good cause shown will the Court grant an application to
23   extend these page limitations.           Courtesy Copies of all
24   evidence in support of or in opposition to a motion,
25   including declarations and exhibits to declarations, shall be
26   separated by a tab divider on the bottom of the page.               If
27   evidence in support of or in opposition to a motion exceeds
28   twenty-five pages, the Courtesy Copies of the evidence shall

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 1   be placed in separately bound volumes and include a Table of
 2   Contents.    If such evidence exceeds fifty pages, the Court’s
 3   Courtesy Copies of such evidence shall be placed in a slant
 4   D-ring binder with each item of evidence separated by a tab
 5   divider on the right side.        All documents contained in the
 6   binder must be three hole punched with the oversized 13/32”
 7   hole size, not the standard 9/32” hole size.             The binder
 8   shall include a Table of Contents and the spine of the binder
 9   shall be labeled with its contents.
10       Typeface shall comply with the Local Rules. NOTE: If
11   Times Roman is used, the font size must be no less than 14;
12   if Courier is used, the font size must be no less than 12.
13   Footnotes shall be in the same typeface and font size as the
14   text and shall be used sparingly.
15       Documents which do not conform to the Local Rules and
16   this Order will not be considered.
17       (d) Citations to Case Law:
18       Citations to case law must identify not only the case
19   being cited, but the specific page referenced. In the event
20   it is necessary to cite to Westlaw or Lexis, the Court
21   prefers that counsel cite to Westlaw.           Hyperlinks to case
22   citations must be included.
23       (e) Citations to Other Sources:
24       Statutory references should identify, with specificity,
25   which sections and subsections are being referenced (e.g.,
26   Jurisdiction over this claim for relief may appropriately be
27   found in 47 U.S.C. § 33, which grants the district courts
28   jurisdiction over all offenses of the Submarine Cable Act,

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 1   whether the infraction occurred within the territorial waters
 2   of the United States or on board a vessel of the United
 3   States outside said waters).         Statutory references which do
 4   not specifically indicate the appropriate section and
 5   subsection (e.g., Plaintiffs allege conduct in violation of
 6   the Federal Electronic Communication Privacy Act, 18 U.S.C. §
 7   2511, et seq.) are to be avoided.          Citations to treatises,
 8   manuals, and other materials should similarly include the
 9   volume and the section referenced.
10        (f) Proposed Statement of Decision
11        Within two days of the deadline for filing the Reply,
12   each party shall lodge a Proposed Statement of Decision,
13   which shall contain a statement of the relevant facts and
14   applicable law with citations to case law and the record.
15   The Proposed Statement of Decision shall not exceed ten pages
16   and shall be in a form that would be appropriate for the
17   Court to enter as its final order on the motion.              The
18   Proposed Statement of Decision shall be submitted to the
19   Court in accordance with the Local Rules. Failure to lodge
20   the Proposed Statement of Decision will result in the denial
21   or granting of the motion.
22        (g) Opposing Papers
23        Within the deadline prescribed by the Local Rules, a
24   party opposing a motion shall file: (1) an Opposition; or (2)
25   a Notice of Non-Opposition.         If a party files a Notice of
26   Non-Opposition to a motion under Federal Rule of Civil
27   Procedure 12(b), (e), or (f), that party shall state whether
28   / / /

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 1   it intends to file an amended complaint in accordance with
 2   Federal Rule of Civil Procedure 15(a)(1).
 3        Failure to timely respond to any motion shall be deemed
 4   by the Court as consent to the granting of the motion.                See
 5   Local Rules.
 6        (h)   Amended Pleadings
 7        Whenever a plaintiff files an amended pleading, a
 8   redlined version of the amended pleading shall be filed and
 9   delivered to Chambers indicating all additions and deletions
10   to the prior version of that pleading.
11        In addition to the requirements of the Local Rules, all
12   motions to amend the pleadings shall: (1) state the effect of
13   the amendment; and (2) state the page, line number(s), and
14   wording of any proposed change or addition of material.
15        In the event the Court grants a motion to dismiss without
16   prejudice to filing an amended complaint, the plaintiff shall
17   file an amended complaint within the time period specified by
18   the Court.     If no time period is specified by the Court, the
19   plaintiff shall file an amended complaint within fourteen
20   calendar days of the date of the order granting the plaintiff
21   leave to file an amended complaint.           Failure to file an
22   amended complaint within the time allotted will result in the
23   dismissal of the action with prejudice.
24        6.    Ex Parte Applications:
25        Ex parte applications are solely for extraordinary
26   relief.    See Mission Power Eng'g Co. v. Continental Cas. Co.,
27   883 F. Supp. 488 (C.D. Cal. 1995).           Applications that fail to
28   conform with the Local Rules, including a statement of

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 1   opposing counsel’s position, will not be considered.                In
 2   addition to electronic service, the moving party shall
 3   immediately serve the opposing party by fax or hand service
 4   and shall notify the opposing party that any opposition must
 5   be filed not later than twenty-four hours after the filing of
 6   the ex parte application.        If counsel does not intend to
 7   oppose the ex parte application, counsel shall immediately
 8   inform the Courtroom Deputy by e-mail and immediately file a
 9   Notice of Non-Opposition.        The Court considers ex parte
10   applications on the papers and usually does not set the
11   matters for hearing.       Courtesy Copies of all moving,
12   opposition, or non-opposition papers shall be provided to the
13   Court in accordance with paragraph 3 of this Order.               The
14   Courtroom Deputy will notify counsel of the Court’s ruling or
15   a hearing date and time, if the Court determines a hearing is
16   necessary.
17   7.   Applications or Stipulations to Extend the Time to File
18   any Required Document or to Continue Any Date:
19        No applications or stipulations extending the time to
20   file any required document or to continue any date are
21   effective until and unless the Court approves them.
22   Applications and/or stipulations to extend the time to file
23   any required document or to continue any hearing, Pre-Trial
24   date, or the Trial date, must set forth the following:
25        (a)   the existing due date or hearing date, as well as
26   all dates set by the Court, including the discovery cut-off
27   date, the Pre-Trial Conference date, and the Trial date;
28        (b) the new dates proposed by the parties;

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 1        (c) specific, concrete reasons supporting good cause for
 2   granting the extension; and
 3        (d) whether there have been prior requests for extensions
 4   by any party, and whether those requests were granted or
 5   denied by the Court.
 6        All applications and stipulations must be accompanied by
 7   a separate and independent proposed order which must be
 8   submitted to the Court in accordance with the Local Rules.
 9   Failure to submit a separate proposed order may result in the
10   denial of the application or stipulation or the Court may
11   withhold ruling on the application or stipulation until the
12   Court receives a separate proposed order.
13   8.   Temporary Restraining Orders and Injunctions:
14        (a) Documentation Required:
15        Parties seeking emergency or provisional relief shall
16   comply with Fed.R.Civ.P.65 and the Local Rules.              An ex parte
17   application for a temporary restraining order must be
18   accompanied by:      (1) a copy of the complaint; (2) a separate
19   memorandum of points and authorities in support of the
20   application; (3) the proposed temporary restraining order and
21   a proposed order to show cause why a preliminary injunction
22   should not issue; and (4) such other documents in support of
23   the application which the party wishes the Court to consider.
24   Courtesy Copies of these documents shall be immediately
25   delivered to Chambers.
26        (b) Notice of Ex Parte Applications:
27        Unless relieved by order of the Court for good cause
28   shown, on or before the day counsel files an ex parte

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 1   application for a temporary restraining order, counsel must
 2   personally serve notice and all documents in support of the
 3   ex parte application and a copy of the Court’s Standing Order
 4   on opposing counsel or party.         Counsel shall also notify the
 5   opposing party that any opposition must be filed no later
 6   than twenty-four hours after the service of the ex parte
 7   application.     Counsel shall immediately file a Proof of
 8   Service.
 9        If counsel does not intend to oppose the ex parte
10   application, counsel shall immediately inform the Courtroom
11   Deputy by e-mail and immediately file a Notice of Non-
12   Opposition.     The Court considers ex parte applications on the
13   papers and usually does not set the matter for hearing.
14   Courtesy Copies of all moving, opposition, or non-opposition
15   papers shall be provided to the Court in accordance with
16   paragraph 3 of this Order.         The Courtroom Deputy will notify
17   counsel of the Court’s ruling or a hearing date and time, if
18   the Court determines a hearing is necessary.
19   9.   Proposed Protective Orders and Filings Under Seal:
20        Protective orders pertaining to discovery must be
21   submitted to the assigned Magistrate Judge.             Proposed
22   protective orders should not purport to allow, without
23   further order of Court, the filing under seal of pleadings or
24   documents filed in connection with a hearing or trial before
25   the Court.     The existence of a protective order does not
26   alone justify the filing of pleadings or other documents
27   under seal, in whole or in part.
28   / / /

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 1        An application to file documents under seal must meet the
 2   requirements of the Local Rules and shall be limited to three
 3   documents by a party, unless otherwise ordered by the Court.
 4   The application to file documents under seal should not be
 5   filed under seal.      There is a strong presumption of the
 6   public’s right of access to judicial proceedings and records
 7   in civil cases.      In order to overcome the presumption in
 8   favor of access, the movant must demonstrate compelling
 9   reasons (as opposed to good cause) for the sealing if the
10   sealing is requested in connection with a dispositive motion
11   or trial, and the relief sought shall be narrowly tailored to
12   serve the specific interest sought to be protected.               Pintos
13   v. Pacific Creditors Ass'n, 605 F.3d 665 (9th Cir. 2010),
14   Kamakana v. City and County of Honolulu, 447 F.3d 1172 (9th
15   Cir. 2006), Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
16   1122, 1135 (9th Cir. 2003).
17        For each document or other type of information sought to
18   be filed under seal, the party seeking protection must
19   articulate compelling reasons supported by specific facts or
20   legal justification that the document or type of information
21   should be protected.       The facts supporting the application to
22   file documents under seal must be provided by a declaration.
23   The declaration shall attach an unredacted copy of each
24   document to be filed under seal.          The parties are ordered to
25   highlight the portion of the document containing counsel’s
26   proposed redactions.       Documents that are not confidential or
27   privileged in their entirety will not be filed under seal if
28   the confidential portions can be redacted and filed

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 1   separately.     The declarations in support of the application
 2   to file documents under seal shall include an explanation of
 3   why redaction is not feasible.
 4        If the parties anticipate requesting the Court to file
 5   more than three documents under seal in connection with any
 6   motion, they shall identify all such documents that will be
 7   required to support and oppose the motion during the Local
 8   Rule 7-3 conference.       The parties shall then meet and confer
 9   in order to determine if the documents satisfy the
10   “compelling need” standard for “sealing” each document.
11   Thereafter, the parties shall file a joint application and
12   lodge a proposed order to file under seal all such documents
13   with the required showing as to each document.              The joint
14   application shall be filed promptly so that the Court may
15   rule on the application before the filing date for the
16   motion.    The parties shall not file any pleadings containing
17   documents they have requested the Court to file under seal
18   until the Court acts on the application to file under seal.
19        If a party wishes to file a document that has been
20   designated confidential by another party, the submitting
21   party must give any designating party five calendar days
22   notice of intent to file.        If the designating party objects,
23   it should notify the submitting party and file an application
24   to file documents under seal within two court days.
25        If an application to file documents under seal is denied
26   in part or in full, the lodged documents will not be filed.
27   The Courtroom Deputy will notify the submitting party, and
28   hold the lodged documents for three court days to allow the

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 1   submitting party to retrieve the documents.             If the documents
 2   are not retrieved, the Courtroom Deputy will dispose of the
 3   documents.
 4        If the Court grants an application to file documents
 5   under seal, the parties shall file within two days of the
 6   Court’s Order a complete version of the documents under seal
 7   and a redacted version for public viewing (omitting only such
 8   portions as the Court has ordered to be filed under seal).
 9   The Court’s Courtesy Copies of all documents filed under seal
10   shall include a complete version of the documents with a
11   notation identifying that the document has been filed under
12   seal and shall be highlighted to show the portion of the
13   document that has been redacted. Should counsel fail to file
14   the under seal version and redacted version of the documents,
15   the Court will strike any motion that relies on or relates to
16   those documents and/or file those documents in the public
17   record.
18        10. Cases Removed From State Court:
19        All documents filed in state court, including documents
20   attached to the Complaint, Answer(s), and Motion(s), must be
21   re-filed in this Court as a separate supplement to the Notice
22   of Removal.     The supplement must be in a separately bound
23   volume and shall include a Table of Contents.              If the
24   defendant has not yet answered or moved, the Answer or
25   responsive pleading filed in this Court must comply with the
26   Federal Rules of Civil Procedure and the Local Rules of the
27   Central District.      If before the case was removed a motion
28   / / /

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 1   was pending in state court, it must be re-noticed in
 2   accordance with the Local Rules.
 3   11. Actions Transferred From Another District
 4        Counsel shall file, within ten days of transfer, a Joint
 5   Report summarizing the status of the action which shall
 6   include a description of all motions filed in the action and
 7   the transferor court’s ruling on the motions.              In addition,
 8   counsel shall deliver (but not file) one courtesy copy to
 9   Chambers of each document on the docket of the transferor
10   court.   On the first page of each courtesy copy, in the space
11   between lines 1 - 7, to the right of the center, counsel
12   shall include the date the document was filed and the
13   document number.      The courtesy copies shall be placed in a
14   slant D-ring binder in chronological order with each document
15   separated by a tab divider on the right side.              All documents
16   contained in the binder must be three hole punched with the
17   oversized 13/32" hole size, not the standard 9/32" hole size.
18   The binder shall include a Table of Contents and the spine of
19   each binder shall be labeled with its contents.              The courtesy
20   copies shall be delivered to Chambers within ten days of the
21   transfer.
22   12. Status of Fictitiously Named Defendants:
23        This Court adheres to the following procedures when a
24   matter is removed to this Court on diversity grounds with
25   fictitiously named defendants referred to in the Complaint:
26        (a) Plaintiff shall ascertain the identity of and serve
27   any fictitiously named defendants within 90 days of the date
28   that the Complaint was filed in State Court.

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 1        (b) If plaintiff believes (by reason of the necessity for
 2   discovery or otherwise) that fictitiously named defendants
 3   cannot be fully identified within the 90-day period, an ex
 4   parte application requesting permission to extend the period
 5   to effectuate service may be filed with the Court.               Such
 6   application shall state the reasons therefore, and will be
 7   granted only upon a showing of good cause.             The ex parte
 8   application shall be served upon all appearing parties, and
 9   shall state that appearing parties may respond within seven
10   calendar days of the filing of the ex parte application.
11        (c) If plaintiff desires to substitute a named defendant
12   for one of the fictitiously named defendants, plaintiff shall
13   first seek the consent of counsel for all defendants (and
14   counsel for the fictitiously named party, if that party has
15   separate counsel). If consent is withheld or denied,
16   plaintiff shall file an ex parte application requesting such
17   amendment, with notice to all appearing parties.              Each party
18   shall have seven calendar days to respond.             The ex parte
19   application and any response should comment not only on the
20   substitution of the named party for a fictitiously named
21   defendant, but on the question of whether the matter should
22   thereafter be remanded to the Superior Court if diversity of
23   citizenship is destroyed by the addition of the new
24   substituted party.
25   13. Bankruptcy Appeals:
26        Counsel shall comply with the Notice Regarding Appeal
27   From Bankruptcy Court issued at the time the appeal is filed
28   in the District Court.        Counsel are ordered to notify the
     Court in a joint report if the Certificate of Readiness has
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 1   not been prepared by the Clerk of the Bankruptcy Court and
 2   submitted to the Clerk of the District Court within 90 days
 3   of the date of this Order.
 4        The matter is considered submitted upon the filing of the
 5   final brief.     No oral argument is held unless ordered by the
 6   Court.
 7   14. Communications with Chambers:
 8        Counsel shall not attempt to contact the Court or its
 9   Chambers staff by telephone or by any other ex parte means,
10   although counsel may contact the Courtroom Deputy at
11   shannon_reilly@cacd.uscourts.gov with appropriate inquiries.
12   To facilitate communication with the Courtroom Deputy,
13   counsel should list their facsimile transmission numbers and
14   e-mail address along with their telephone numbers on all
15   papers.
16   15. Notice of This Order:
17        Counsel for plaintiff shall immediately serve this Order
18   on all parties, including any new parties to the action.                    If
19   this case came to the Court by noticed removal, defendant
20   shall serve this Order on all other parties.
21   Caveat:    If counsel fail to cooperate in the preparation of
22   the required Joint Rule 26 Report or fail to file the
23   required Joint Rule 26 Report, or if counsel fail to appear
24   at the Scheduling Conference, the Pre-Trial Conference and/or
25   any other proceeding scheduled by the Court, and such failure
26   is not otherwise satisfactorily explained to the Court: (a)
27   the cause shall stand dismissed for failure to prosecute, if
28   such failure occurs on the part of the plaintiff; (b) default

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 1   judgment shall be entered if such failure occurs on the part
 2   of the defendant; or (c) the Court may take such action as it
 3   deems appropriate.
 4
 5         IT IS SO ORDERED.
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 7   DATED:        March 27, 2018
                                                JOHN F. WALTER
 8                                      UNITED STATES DISTRICT JUDGE
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